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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
SEVEN TRADE LLC,                                                         No. 7:22-cv-01673 (PMH)

                                   Plaintiff,
                                                                         [PROPOSED]
                 -against-                                               DEFAULT JUDGMENT
MEDICAL ENGINEERING LLC, LONNIE BANKS,
VIKING SALES GROUP LLC, AND SHLOMO E.
SUISSA,
-
                                    Defendants.
---------------------------------------------------------------------X

        This action having commenced by the filing of a complaint dated February 28, 2022 (the

“Complaint”), and a copy of the Summons and Complaint having been served on (1) Shlomo E.

Suissa (“Suissa”) via substitute service on Suissa’s co-resident, Perah Nahmai, at Suissa’s usual

place of abode and mailing an additional copy to Suissa, and proof of service having been filed

with the Court on March 29, 2022; (2) Lonnie Banks (“Banks”), by serving Allen “Doe,” a

manager at Banks’ actual place of business who was authorized to accept service for Banks, and

then mailing an additional copy to Banks at said place of business, and proof of service having

been filed with the Court on March 29, 2022; (3) Medical Engineering LLC (“Medical

Engineering”) via service on its registered agent, the First State Registered Agent Company, and

proof of service having been filed with the Court on April 1, 2022; and (4) Viking Sales Group

LLC (“Viking”) via the Florida Secretary of State, and proof of service having been filed with the

Court on May 20, 2022; and Defendants not having answered the Complaint and the time for

answering the Complaint having expired, it is

        ORDERED, ADJUDGED AND DECREED: that judgment for Plaintiff’s compensatory

damages is hereby entered in favor of Plaintiff and against Suissa, Banks, Medical Engineering,

                                                [next page]
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and Viking (collectively, “Defendants”), jointly and severally, in the amount of $1,625,000, and

for Plaintiff’s lost profits against Medical Engineering in the additional amount of $1,161,500, for

a total judgment of $2,786,500 plus pre-judgment interest from February 3, 2022 until the date of

entry of judgment at a rate of 9% per annum in the amount of ___________, and post-judgment

interest at the rate of 9% per annum, and any other relief the Court may deem appropriate.

Dated: New York, New York
       _____________, 2022


                                                                     Hon. Philip M. Halpern
                                                                     United States District Judge



 Suissa, Banks, Medical Engineering, and Viking (collectively, "Defendants"), based upon their
 default in appearance herein as noted in the Clerk's Certificates of Default entered by the Clerk
 of Court, are liable to Plaintiff on the claims for relief as enumerated against each Defendant and
 as set forth in the Complaint; and that

 judgment be, and hereby is, entered in favor of Plaintiff and against Defendants, jointly and
 severally, in the total principal amount of $2,786,500.00, plus pre-judgment interest from
 February 3, 2022 until the date of entry of judgment at a rate of 9% per annum in the amount of
 $152,532.25, for a total award of $2,939,032.25, and post-judgment interest at the rate provided
 by law, and that Plaintiff shall have execution therefor.

 Dated: White Plains, New York
        September 13, 2022
                                                        _________________________
                                                        Hon. Philip M. Halpern
                                                        United States District Judge




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